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17                        UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
18                              WESTERN DIVISION
19     TRIMED, INC.
       a California corporation,
20                                             Case No. CV-06-1918
                             Plaintiff,
21                                             STIPULATION FOR ENTRY OF
                 v.                            [PROPOSED] ORDER FOR
22                                             VOLUNTARY DISMISSAL OF
       STRYKER CORP,                           ACTION
23     a Michigan corporation,
24                           Defendant.        Hon. Stephen V. Wilson
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            STIPULATION FOR ENTRY OF PROPOSED ORDER FOR VOLUNTARY DISMISSAL OF ACTION,
                                        ACTION NO. CV-06-1918
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 1              The parties to this action have executed a confidential settlement agreement
 2     resolving all claims in the action. Therefore, pursuant to Rule 41(a) of the Federal
 3     Rules of Civil Procedure, the parties hereto have agreed that the above-captioned
 4     action, including all claims and counterclaims, shall be dismissed with prejudice and
 5     that each party shall bear its own attorneys' fees and costs. Accordingly, the parties
 6     hereby stipulate to entry of the Proposed Order for Voluntary Dismissal of Action
 7     attached hereto as Exhibit A.
 8                                            Respectfully submitted,
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11     Dated: December 10, 2010                /s/ William R. Overend________________
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       CV 06-1918 (SHx)
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              STIPULATION FOR ENTRY OF PROPOSED ORDER FOR VOLUNTARY DISMISSAL OF ACTION,
                                          ACTION NO. CV-06-1918
     Case 2:06-cv-01918-SVW-SH Document 233 Filed 12/10/10 Page 3 of 3 Page ID #:3472


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       CV 06-1918 (SHx)
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              STIPULATION FOR ENTRY OF PROPOSED ORDER FOR VOLUNTARY DISMISSAL OF ACTION,
                                          ACTION NO. CV-06-1918
